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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

In re: NEXIUM (ESOMEPRAZOLE)                                 MDL No. 2409
ANTITRUST LITIGATION
                                                             Civil Action No. 1:12-md-02409-WGY

This Document Relates To:

All Actions

  PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
          EVIDENCE REGARDING VARIOUS TOPICS (ECF NO. 1044)

         Plaintiffs1 hereby respond to Defendants’ motions in limine filed on October 14, 2014.

See ECF Nos. 1044, 1045.2 At the October 15, 2014 Charge Conference, the Court indicated a

leaning (without ruling) on a number of these issues, but Plaintiffs file this formal opposition to

assist the Court in the event that these issues arise during trial.

         Defendants’ Motion 6, “The Failure of Any Defendants’ Witnesses to Appear at Trial,”

see ECF No. 1045 at 6-7, is likely to be particularly important when the Court formulates its

final charge. Plaintiffs understand that the Court would like to “see how that all plays out.”3

Eventually, Plaintiffs believe they will be entitled to an adverse inference instruction, if

witnesses within the control of Defendants fail to appear at trial despite Plaintiffs’ best efforts to

have them appear, including by subpoenaing certain witnesses.




         1
         Plaintiffs include the Direct Purchaser Class Plaintiffs, the End-Payor Class Plaintiffs, and Plaintiffs in the
Walgreen (No. 13-cv-10337-WGY), Giant Eagle (No. 13-cv-11305-WGY), Rite Aid (No. 13-cv-12074-WGY), and
CVS (14-cv-11788) actions.
         2
         Memorandum of Law in Support of Defendants’ Motions in Limine to Exclude Evidence Regarding
Various Topics, ECF No. 1045, is referred to herein as “Defs’ Mem.”
         3
             See Charge Conference Transcript, October 15, 2014 (“Charge Conference Tr.”), at 36.
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                 DEFENDANTS’ MOTION 1: REFERENCE TO THE SETTLEMENT
                 AGREEMENTS AS “PAY FOR DELAY AGREEMENTS,” “DELAY
                 AGREEMENTS,” “REVERSE PAYMENT AGREEMENTS,” OR “BRIBES”

          Plaintiffs understand that the Court is “not troubled” with language such as “[p]ay for

delay agreements,” “[d]elay agreements” or “[r]everse payment agreements.”4

          Defendants’ objection to referring to their agreements as “pay for delay agreements,”

“delay agreements,” or “reverse payment agreements” is baseless. Defendants label these terms

“conclusory,” but they are accurate descriptions of the conduct Plaintiffs challenge (i.e.,

payments flowing from AstraZeneca to the Generic Defendants for the purpose of delaying

competition). At trial, Plaintiffs are entitled to describe Defendants’ acts in a manner that

“summariz[es] the central conduct with which the defendants [are] charged[.]”5 Furthermore,

because the terms are an accurate description of Defendants’ conduct, Defendants cannot

complain that these terms are “pejorative.”6 Any uncomplimentary connotation results from

Defendants’ acts, not Plaintiffs’ phrasing, and these descriptions should be allowed at trial.7

          Defendants’ Motion In Limine to exclude reference to the settlement agreements as “Pay

for Delay Agreements,” “Delay Agreements” and/or “Reverse Payment Agreements” should be

denied.




          4
          See Charge Conference Tr., 35. The Court stated: “I think I get troubled with ‘bribes.’ I don’t suggest
they’d do that.” Id. Plaintiffs do not intend to use “bribes”.
          5
              United States v. Felton, 417 F.3d 97, 103 (1st Cir. 2005).
          6
            Moreover, Defendants are wrong that “reverse payment agreements” is simply a term of Plaintiffs’
“choosing”. This Court has repeatedly labeled the challenged conduct as “reverse payment agreements” in written
opinions (see, e.g., In re Nexium (Esomeprazole) Antitrust Litig., 296 F.R.D. 47, 55 (D. Mass. 2013)), as did the
Supreme Court (F.T.C. v. Actavis, Inc., 133 S. Ct. 2223, 2234, 2236 (2013)), and it is used by the FTC as well (see,
e.g., Brief for the Petitioner, Federal Trade Commission v. Watson Pharmaceuticals, Inc., 2013 WL 267027 (U.S.)
(U.S. 2013)).
          7
          Felton, 417 F.3d at 103 (“That the term is highly pejorative is true-but this is a function of the acts that the
defendants engaged in, not the government's inaccurate description of those acts.”) (citation omitted).

                                                              2
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               DEFENDANTS’ MOTION 2: REFERENCES TO PLAINTIFFS AS
               “VICTIMS”; APPEALS TO JURORS’ SELF-INTEREST AS CONSUMERS
               OR TAXPAYERS

        Defendants’ Motion 2: The Court indicated that references to Plaintiffs as “victims” are

not troubling.8 Plaintiffs agree.

        Defendants argue that Plaintiffs should be barred from using the term “victim” because it

is allegedly inflammatory and implies, in a noncriminal proceeding, that a crime has taken place,

serving only to confuse and mislead the jury.9 Courts routinely reject this argument, finding

jurors are not so easily confused.10 Moreover, as one court has observed, the “rich resources of

the English language” should be available to litigants arguing their respective positions at trial;

“[t]hat is a basic feature of our adversarial system, not an improper incitement to prejudice,” and

a court should be “disinclined to restrain the discretion of counsel in their choice of words in

arguing their clients’ cases, absent a showing of egregiously unfair prejudice arising out of that

choice of words.”11

        Defendants have made no such showing here. The single case cited by Defendants on

this point—for the proposition that Rule 403 requires the exclusion of evidence that “provokes

an emotional response in the jury”—is far afield factually and actually supports Plaintiffs’




        8
            See Charge Conference Tr., 35.
        9
            Defs’ Mem. at 2-3.
        10
            See, e.g., SjÖstrand v. Ohio State Univ., No. 2:11-cv-00462, 2014 U.S. Dist. LEXIS 125163, at *21 (S.D.
Ohio Sept. 8, 2014) (holding that use of the term “victim” was unlikely to cause jurors to confuse litigation of the
plaintiff’s Title VII discrimination claims with a criminal proceeding); see also Riley v. Ford Motor Co., No. 2:09-
cv-148, 2011 U.S. Dist. LEXIS 84381, at *5-6 (S.D. Miss. July 29, 2011) (noting that “the term ‘victim’—when
afforded its plain meaning—does not necessarily imply criminal wrongdoing,” that the plaintiffs claimed they were
the victims of the defendants’ negligence, and that they should be free to present their case in this light); In re
Homestore.com, Inc. Sec. Litig., No. CV 01-11115, 2011 U.S. Dist. LEXIS 10677, at *37-38 (C.D. Cal. Jan. 25,
2011) (denying motion and finding the defendant failed to sufficiently show that the use of the term “victim” would
be prejudicial under Rule 403).
        11
             McEachron v. Glans, No. 98-CV-17, 1999 U.S. Dist. LEXIS 21926, at *13-14 (N.D.N.Y Aug. 23, 1999).

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position.12 Accordingly, there should be no blanket restriction on the use of the word “victim.”13

         Defendants also argue in Motion 2 that Plaintiffs should not be permitted to appeal to

jurors’ self-interest as either consumers or taxpayers.14 The Court has indicated that “[o]bviously

appeals to the jurors’ self-interest as consumers or taxpayers, that’s forbidden.”15 With respect to

the two specific examples of such testimony provided, Defendants have no basis to conclude that

Plaintiffs intend to discuss how the jurors themselves will benefit from this litigation, or to

comment on how any damages award might be spent or allocated.16 Cases that Defendants cite

merely bar blatant appeals to the personal pecuniary interests of the individuals on the jury and

are therefore inapposite.17 Plaintiffs will not do that.

         To the extent Defendants seek to bar any discussion of consumers in a case involving an

End-Payor class that includes consumers, their overbroad motion should be denied out of hand.18

Moreover, this case involves the antitrust laws and Hatch-Waxman Act—legislation enacted

         12
             See United States v. Burgess, 576 F.3d 1078, 1098-1101 (10th Cir. 2009) (involving a trial court’s
refusal to block the introduction into evidence of lewd text and sexually suggestive photographs that were
introduced to show intent and knowledge in connection with charges of knowingly transporting child pornography
in interstate commerce).
         13
            Defendants’ assertions to the contrary notwithstanding, Defs’ Mem. at 2-3, it is of no consequence that
impact and damages will be tried in a later phase of trial. Plaintiffs must be allowed to explain their allegations, and
the jury instructions and accompanying verdict form will focus the jury’s attention on the relevant evidence and
rules of law and the questions that must be answered at the conclusion of the first phase.
         14
              Defs’ Mem. at 3-4.
         15
              See Charge Conference Tr., 35.
         16
              See id.
         17
             See, e.g., United States v. Trutenko, 490 F.2d 678, 679 (7th Cir. 1973) (“plainly improper” statement was
made in closing arguments that jurors themselves were paying too much in insurance premiums because insurance
companies have to pay out on phony claims like the ones involved in the case); United States ex rel. Health
Dimensions Rehabilitation, Inc. v. Rehabcare Group, Inc., No. 4:12CV00848, 2013 U.S. Dist. LEXIS 135498, at *7
(E.D. Mo. Sept. 23, 2013) (permitting plaintiffs to explain how the Medicare program operates and the purpose of
the Anti-Kickback Statute, so long as they refrained from specifically appealing to the jurors as taxpayers). Cases
concerning references to how the outcome of a case could affect taxpayers, see Defs’ Mem. at 3-4, are moreover of
little relevance to this litigation involving predominately private payors.
         18
           Lopes v. Viera, No. 1:06-CV-01243, 2012 U.S. Dist. LEXIS 27990 (E.D. Cal. Mar. 2, 2012) (“Generally,
motions in limine that seek exclusion of broad and unspecific categories of evidence are disfavored.”); Weiss v. La
Suisse, Societe d’Assurances sur la Vie, 293 F. Supp. 2d 397, 407-08 (S.D.N.Y. 2003) (denying motion to exclude
evidence for a “lack[] of specificity[,]” stating“[n]o particular documents or testimony have been identified in this
motion”).

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specifically for the benefit of consumers.19 A sweeping ruling barring any mention of consumers

would be wholly inappropriate where, as here, the interests of consumers are an integral part of

the legislation that is at the heart of this case.20 Absent a specific description of the evidence

they seek to exclude, Defendants improperly seek to hold the Court to a “tentative forecast”

made in a vacuum, untethered from the factual context that will unfold at trial.21 Defendants’

motion should be denied.

                DEFENDANTS’ MOTION 3: THE FINANCIAL STATUS OF THE PARTIES

          As the Court recognized, at trial, “[w]e may necessarily have to get into” the “[f]inancial

status of the parties.”22 Indeed, where a showing is made that evidence of a party’s financial

status bears on an issue of consequence in a particular case, courts frequently admit such

evidence.23 Evidence of a party’s profits and financial situation can be relevant, for example, to

establish both the motivations for its actions and causation.24



         19
           See Monahan’s Marine, Inc. v. Boston Whaler, Inc., 866 F.2d 525, 527 (1st Cir. 1989) (“The Sherman
Act’s very purpose is to help consumers, in part by bringing about low, nonpredatory prices.”); In re Nexium
(Esomeprazole) Antitrust Litig., 968 F. Supp. 2d 367, 378 (D. Mass. 2013) (noting the Hatch-Waxman Act “was
passed with the express purpose of expediting the entry of noninfringing generic competitors into pharmaceutical
drug markets in order to decrease healthcare costs for consumers”).
         20
             Cf. Health Dimensions, 2013 U.S. Dist. LEXIS 135498, at *7 (E.D. Mo. Sept. 23, 2013) (permitting
plaintiffs to explain how the Medicare program operates and the purpose of the Anti-Kickback Statute, even though
such explanation involved discussion of taxpayers).
         21
            See United States v. Griffin, 818 F.2d 97, 104 (1st Cir. 1987) (noting that “[t]he Rule 403 calculus . . . is
subject to change when the case unfolds” and “it is too great a handicap to bind a trial judge to a ruling . . . outside a
precise factual context”).
         22
              See Charge Conference Tr., 35.
         23
            See, e.g., Illinois Tool Works, Inc. v. MOC Prods. Co., No. 09 CV 1887, 2012 U.S. Dist. LEXIS 116471,
at *7-9 (S.D. Cal. Aug. 17, 2012) (in a patent infringement case, evidence of a company’s size and status as a
family-owned business was “relevant to several of the issues to be tried,” including whether the company a) had the
capacity to know it was infringing, b) willfully infringed, and/or c) was willfully blind to infringement by others);
Baxter Diagnostics, Inc. v. Novatek Med., Inc., No. 94 Civ. 5220, 1998 U.S. Dist. LEXIS 15093, at *11 n.5
(S.D.N.Y. Sept. 25, 1998) (evidence in corporate filings of “the enormous resources and expertise” available to a
litigant was relevant to whether it could claim justifiable reliance on oral statements made to it in the course of a
major business transaction).
         24
            See, e.g., Union Carbide Corp. v. Montell N.V., 28 F. Supp. 2d 833, 840 (S.D.N.Y. 1998) (evidence of a
party’s financial condition was relevant to establish causation, as it tended to show the party cut costs voluntarily,
and not as a result of the another party’s conduct); Hockensmith v. Ford Motor Co., No. 1:01-cv-3645, 2003 U.S.

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          Plaintiffs agree that evidence concerning Plaintiffs’ financial status is wholly irrelevant to

their claims in this action.25 Evidence related to each Defendants’ overall financial condition is,

however, squarely relevant to Plaintiffs’ allegations concerning Defendants’ anticompetitive

conduct, including, inter alia, whether the generic Defendants had the financial resources to

come to market with their generic Nexium products; whether Ranbaxy and Teva were motivated

to form a partnership to come to market with a generic Nexium product; and whether they could

bear the risk of an at-risk launch. Evidence of Defendants’ profits and status within specific

markets is relevant not only to whether AstraZeneca has market power,26 but also to establish,

for example, a reasonable royalty rate in connection with AstraZeneca’s alleged payment to

Teva.27

          The cases that Defendants cite either turn on evidentiary considerations unrelated to the

admissibility of financial information,28 serve merely as examples of the default rule that a

party’s financial condition is not intrinsically relevant,29 or admit that such evidence can be



Dist. LEXIS 27528, at *26 (N.D. Ga. Apr. 17, 2003) (evidence of the defendant’s profits and profit margin were
relevant to the reasonableness of its design decisions and alleged improper motives).
          25
               See supra n.1.
          26
            Resolution of this issue will involve, for example, evidence of AstraZeneca’s sales of Nexium (and profit
margins thereon), evidence concerning the ways in which the company drove demand for Nexium through various
types of financial expenditures, and evidence concerning AstraZeneca’s substantial payments to the generic
manufacturers. See, e.g., In re Nexium Antitrust Litig., 968 F. Supp. 2d 367, 389 (D. Mass. 2013) (finding jury
could conclude that AstraZeneca exercised market power where plaintiffs alleged, among other things, that
“‘AstraZeneca . . . sold Nexium at prices well in excess of marginal costs, and substantially in excess of the
competitive price, and enjoyed high profit margins’”).
          27
            See, e.g., Expert Report of Philip Green, dated Sept. 30, 2013 (Defendants’ expert report analyzing,
among other things, the gross profits that Teva earned from its omeprazole sales, AstraZeneca’s net sales of
Prilosec, and the legal costs that would have been expended to continue the litigation); Expert Opinion of W.
Shannon McCool, dated June 30, 2014 (conducting Georgia-Pacific analysis).
          28
           See, e.g., United States v. Varoudakis, 233 F.3d 113, 121-22 (1st Cir. 2000) (discussing admissibility of
evidence of prior bad acts).
          29
            See, e.g., Sizemore v. Fletcher, 921 F.2d 667, 671 (6th Cir. 1990) (statements regarding the defendant’s
wealth were irrelevant to a murder charge); Garcia v. Sam Tanksley Trucking, Inc., 708 F.2d 519, 522 (10th Cir.
1983) (statements about the relative wealth of the parties were irrelevant to the issue of a trucking company’s
vicarious liability for injuries sustained in a car accident); Fitzpatrick v. Cohen, No. 10-cv-54, 2011 WL 1256728, at
*2 (D. Me. Apr. 4, 2011) (“the Court will not allow testimony on Defendant’s job unless Plaintiff makes a showing

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relevant for certain purposes, but conclude that the specific evidence in question is not.30 None

involves allegations of anticompetitive conduct.31 And none speaks to the situation presented

here, where the size, financial status and capabilities, and financial motivations of the various

Defendants permeate the negotiations in which they engaged, the resulting deals that form the

basis of Plaintiffs’ claims, and the actions Defendants would have taken absent those deals.

        Evidence related to Defendants’ financial condition is directly relevant to numerous

important issues in this antitrust litigation. This evidence is not an “‘appeal[ ] to class

prejudice.’”32 It goes to the heart of Plaintiffs’ substantive allegations and will tend to make it

more or less probable that Defendants engaged in anticompetitive conduct. Evidence of

Defendants’ financial status is therefore admissible under Federal Rules of Evidence 401, 402,

and 403.

               DEFENDANTS’ MOTION 4: THE SIZE, LOCATION, OR
               SPECIALIZATION OF DEFENDANTS’ COUNSEL

        Plaintiffs construe Defendants’ motion as relevant only to evidence about the lawyers

trying this antitrust litigation. For the reason stated in Plaintiffs’ Motion in Limine B: Motion to

Exclude Any Evidence Regarding Past or Present Litigation Involving Plaintiffs or Their

Counsel, Plaintiffs do not oppose Defendants’ Motion in Limine to prohibit evidence about the

size, location, or specialization in pharmaceutical antitrust litigation of Defendants’ counsel.


as to the particular relevance” (emphasis added)); Logan v. Trucks For You, Inc., No. 01-cv-7350, 2002 WL
34453503, at *1 (C.D. Cal. May 21, 2002) (evidence of the defendant’s net worth was irrelevant where the
plaintiff’s claim for punitive damages was dismissed).
        30
            Kinsey v. Cendant Corp., 588 F. Supp. 2d 516, 518 (S.D.N.Y. 2008) (although the plaintiff’s
sophistication was relevant to the reasonableness of his reliance on allegedly misleading statements, correspondence
from over a year after the statements were made was not relevant to his level of sophistication at the time).
        31
            Varoudakis, 233 F.3d 113 (criminal arson charges); Sizemore, 921 F.2d 667 (habeas corpus petition);
Sam Tanksley Trucking, 708 F.2d 519 (claims concerning automobile collision); Fitzpatrick, 2011 WL 1256728
(claims stemming from motorcycle accident); Kinsey, 588 F. Supp. 2d 516 (employment-related claims); Trucks For
You, Inc., 2002 WL 34453503 (employment-related claims).
        32
             Defs’ Mem. at 4.

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Plaintiffs believe that all evidence related to both Plaintiffs’ and Defendants’ counsel’s

involvement in past reverse payment litigation should not be admitted at trial.

        Plaintiffs do, however, oppose the exclusion of evidence that some of the same counsel

who negotiated the very reverse payment agreements at issue also represent Defendants in the

instant action. Some of these lawyers will appear as witnesses at trial (either live or through

deposition) in an attempt to defend their own actions and advice. Defendants’ motion should be

denied to the extent that it in any way limits Plaintiffs’ ability to present information about

Defendants’ attorneys who negotiated the underlying agreements and who will appear as fact

witnesses at trial (whether live or by deposition).

               DEFENDANTS’ MOTION 5: DEFENDANTS’ STATUS AS FOREIGN
               COMPANIES

        Plaintiffs agree with the Court: “Foreign companies is not going to be emphasized and

I’ll say everyone’s equal before the law.”33 Some references to Defendants as foreign entities

will inevitably occur simply as part of presenting basic facts to the jury, but Plaintiffs have no

intention of “emphasizing” the point. Defendants themselves recognize that evidence in the case

will reveal their locations and do not seek to somehow scrub this information from the

documents or testimony that will be presented at trial.34

        The cases that Defendants cite do not support exclusion here. One stands merely for the

general proposition that repeated references to a litigant’s foreign status are not permitted where

unique circumstances would cause the jury to harbor xenophobic thoughts.35 Defendants fail to


        33
             See Charge Conference Tr., 36; compare Defs’ Mem. at 6 (citing cases involving “repeated references”).
        34
           Id. at 6 (citing Personalized User Model, L.L.P. v. Google Inc., No. 09-525, 2014 U.S. Dist. LEXIS
25356, at *12 (D. Del. Feb. 27, 2014), in which the court allowed relevant evidence to be introduced where it
contained foreign addresses).
        35
            United States v. Gearhart v. Uniden Corp. of Am., 781 F.2d 147, 153 (8th Cir. 1986) (court worried that
repeated references to the defendant’s foreign parent corporations, “foreign goods,” and “foreign products” were
potentially prejudicial in light of the ongoing United States-Japanese trade imbalance).

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provide any basis for suspecting that Plaintiffs will make such repeated, much less improper,

references, point to no current events or other specific conditions likely to incite xenophobic

thoughts in the minds of jurors, and only vaguely seek exclusion of “references with the potential

to provoke a regional bias.”36

         Other cases cited by Defendants stand merely for the proposition that references to a

litigant as a foreign company may be precluded where no relevant purpose is articulated.37 In

this litigation, however, there are a number of legitimate reasons why Plaintiffs may reference

Defendants’ foreign status and/or international presence. Plaintiffs may do so, for example, in

connection with certain infringement arguments concerning whether the generic Defendants

manufactured their products outside the United States.38 Plaintiffs may also seek to introduce

evidence that the generic Defendants have sold generic Nexium in a host of other countries since

at least 2010, which tends to make it more probable that those Defendants would have marketed

their generic products in the United States sooner but for the challenged agreements.

         Given the relevant and proper reasons why Plaintiffs may reference Defendants’ status as

foreign companies, the Court should not impose the blanket restriction that Defendants request.

The Court can rule on any objections Defendants may make at trial, where the statements can be

evaluated in the context of the evidence that is being presented.39 This is particularly true where

         36
              Defs’ Mem. at 6.
         37
            Personalized User Model, 2014 U.S. Dist. LEXIS 25356, at *12 (making no mention of any relevant
purpose proposed by the party opposing a motion in limine); Boyle v. Mannesmann Demag Corp., No. No. 91-3909,
1993 U.S. App. LEXIS 8682, at *8-9 (6th Cir. Apr. 13, 1993) (foreign currency exchange rate information the
plaintiff sought to introduce was not relevant to any issue in the case).
         38
           See generally, Oct. 28, 2013 Rebuttal Expert Rep. of Bernhardt L. Trout, Ph.D. Prepared on Behalf of the
Direct Purchaser Class and Indirect Purchaser Class, ¶¶ 242-46.
         39
            See Midwest Oilseeds, No. 4:00-cv-90695, 2002 U.S. Dist. LEXIS 28698, at *6 (S.D. Ia. Nov. 8, 2002)
(“If counsel attempts to improperly inject into the record prejudicial and inappropriate remarks the Court will rule on
the objections as made.”). See also id. at *6 (“The simple fact is, however, [the defendant’s successor] is a French
corporation. [Defendant] may rest assured that the Court will not tolerate any attempt by Plaintiff to unfairly
prejudice the jury because of this fact, but the Court sees no need to exclude any mention of the obvious at this
stage.”).

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the Court has already assured the parties that it will properly instruct the jury in this regard.40

         For all of these reasons, Defendants’ motion to somehow exclude all evidence that some

Defendants are foreign corporations should be denied.

                DEFENDANTS’ MOTION 6: THE FAILURE OF ANY OF DEFENDANTS’
                WITNESSES TO APPEAR AT TRIAL

         Defendants seek a blanket prohibition against any comment on the failure of key witness

to appear at trial. Plaintiffs understand that the Court has not yet ruled on this motion, and wants

to see how this plays out at trial.41 Plaintiffs may, however, at the close of Defendants’ case, ask

the Court to instruct the jury that it may draw an adverse inference from the fact that certain of

Defendants’ witnesses – under Defendants’ control – failed to appear at trial.

         Under First Circuit law, a jury may draw an adverse inference from a party’s failure to

call a witness in certain circumstances including: (1) where the witness is “‘favorably disposed,’

because the party would normally be expected to produce such a witness”; (2) “when a party

fails to produce a material witness who is peculiarly available to that party”; or (3) “when a party

having exclusive control over a witness who could provide relevant, noncumulative testimony

fails to produce the witness.”42

         Whether such an inference is warranted depends upon the specific facts surrounding a

witness’s failure to testify. The identity of the witness, the testimony that the witness would

have offered, the reason for the failure to appear at trial, and the connection of the witness to the


         40
            See Charge Conference Tr. 36 (“I will say everyone’s equal before the law.”). See also Midwest
Oilseeds, 2002 U.S. Dist. LEXIS 28698, at *6 (“The Court’s instructions will likewise advise the jury that the case
will and should be decided based only upon the law and facts and not bias, sympathy or prejudice and that all parties
stand alike and equal before the law and this Court.”).
         41
              See Charge Conference Tr., 36.
         42
           United States v. St. Michael’s Credit Union, 880 F.2d 579, 597 (1st Cir. 1989) (quoting United Sates v.
Ariza-Ibarra, 651 F.2d 2, 16 (1st Cir. 1981)). See also Graves v. United States, 150 U.S. 118, 121 (1893) (“if a
party has peculiarly within his power to produce witnesses whose testimony would elucidate the transaction, the fact
that he does not do it creates the presumption that the testimony, if produced, would be unfavorable”)

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opposing party are all relevant factors. This fact-specific inquiry means that Defendants’

motion, seeking a blanket prohibition against comments on the failure of witnesses to appear,43 is

both improper and premature. Defendants have not identified any decision granting such a

blanket prohibition and without considering the specific facts at trial.44 As one court explained

in denying such a motion: “[a]s the trial has not yet begun and the circumstances surrounding

any missing witnesses have not been presented, there is no foundation for ruling on any party’s

references to a missing witness.”45

        At an appropriate time, Plaintiffs may request that the jury be given a missing witness

instruction. Defendants plainly wish to keep key witnesses on important issues away from this

trial. As this Court has explained, the jurors will be “very interested in why AstraZeneca settled

and indeed why the generics settled the patent litigation and why the payments that were made

were made.”46 This will be an “essential part of the antitrust case.”47 Yet Defendants have

fought every one of Plaintiffs’ efforts to subpoena the testimony of the key negotiators – the

people whose “testimony would elucidate the transaction.” 48


        43
          See St. Cyr v. Flying J Inc., No. 3:06-cv-13-J-33TEM, 2007 WL 2850521, at *4 (M.D. Fla. Sept. 27,
2007) (denying motion in limine and criticizing Defendant for “fail[ing] to reference a single witness”).
        44
            Defendants’ only case concerning adverse inferences from the failure of a witness to appear at trial
concerned an instruction at the conclusion of trial, after the requesting party had shown the jury the witness’
videotaped deposition. See Defs’ Mem. at 7 (citing Latin Am. Music Co. v. Am. Soc’y of Composers Authors &
Publishers, 593 F.3d 95, 102 (1st Cir. 2010)). The only other case that Defendants cite concerns the use of
deposition testimony at trial. See id. (citing Air Turbine Tech., Inc. v. Atlas Copco AB, 217 F.R.D. 545, 546-47
(S.D. Fla. 2003)). Neither case allowed a blanket prohibition against comments on unidentified absent witnesses.
        45
             Gumbs-Heyliger v. CMW and Assocs. Corp., C.A. No. 1:12-cv-0078, 2014 WL 5135184, at *2 (D.V.I.
Oct. 13, 2014) (denying motion in limine); see also Carlson v. Banks, No. 05 C 1650, 2007 WL 5711692, at *8
(N.D. Ill. Feb. 2, 2007) (denying motion in limine seeking to exclude evidence or comment on failure of witnesses to
testify, finding that any such issues will be resolved during trial).
        46
             See December 11, 2013 Hearing Transcript, at 10.
        47
         Id. See also September 30, 2014 Hearing Transcript, at 20-21 (encouraging testimony from the witnesses
“who know why they settled, why they did what they did”).
        48
             See Graves v. United States, 150 U.S. 118, 121 (1893).
       For example, Lisa Jose Fales and Jay R. Deshmukh both helped negotiate the Ranbaxy settlement
agreement. Deshmukh was Ranbaxy’s lead negotiator regarding the agreement, and Fales was one of a few

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         Depending upon which of Defendants’ witnesses actually appear at trial, Plaintiffs may

ask the Court for a missing witness instruction at the close of the evidence. But now is not the

time to consider this issue and Defendants’ motion in limine should be denied.

                DEFENDANTS’ MOTION 7: ALLEGATIONS THAT DEFENDANTS ACTED
                UNETHICALLY OR IMMORALLY

         As the Court recognized during the charge conference, Plaintiffs are seeking to prove at

trial that Defendants violated the antitrust laws. Because violating the antitrust laws is neither

ethical nor moral, Defendants’ motion makes no sense and should be denied. This issue can be

addressed, if need be, in a specific context if it arises.

                DEFENDANTS’ MOTION 8: IRRELEVANT MATTERS CONCERNING
                THE PHARMACEUTICAL INDUSTRY

         Plaintiffs do not intend to present irrelevant evidence at trial. And of course the Court

“will exclude irrelevant matters.”49 Accordingly, there is no basis for Defendants’ motion.

         But, this is an antitrust case. Plaintiffs intend to prove that Defendants’ conduct resulted

in anticompetitive effects in the form of higher prices. Defendants cannot prevent Plaintiffs from

arguing that Defendants’ actions resulted in increased prices paid for Nexium (esomeprazole

magnesium), which is the thrust of Plaintiffs’ case.

         Defendants seek to exclude any references to “matters involving the pharmaceutical

industry unrelated to this case.”50 In particular, they contend that any references to high



principal Ranbaxy representatives who negotiated and drafted those agreements. Neither was deposed, so there is
no videotaped deposition to play at trial. After Defendants refused to voluntarily produce these witnesses, Plaintiffs
sought the testimony of those witnesses under Federal Rule of Civil Procedure 43(a). Defendants moved to quash
those subpoenas, and it now appears as though Deshmukh will testify live at trial while it is still not clear whether
Fales will appear live. These changes (and others) to the list of witnesses who will appear live at trial demonstrate
that the Court should not reach this issue until it is clear that there is an actual issue ripe for decision. If any
Defendant decides to keep a key witness away from the trial, it should not be immunized from the adverse
inferences appropriately flow from such a decision.
         49
              Charge Conference Tr., 36.
         50
              Defs’ Mem. at 9.

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pharmaceutical or healthcare costs would “condemn[] Defendants by association” and that

“[t]his trial should not be turned into a forum on healthcare costs.”51 As the Court recognized at

the charge conference, such a general challenge to relevance cannot be decided in the abstract

before the presentation of evidence. The issue is particularly unsuited for a pretrial

determination here, where Defendants have failed to specify the scope of the evidence sought to

be excluded or to articulate any unfair prejudice.

        The Court has previously noted that the “particularities of the parties’ industry” are

relevant in analyzing the lawfulness of a reverse payment.52 And, Plaintiffs allege that the

purpose of the reverse payment agreements and overall conspiracy in this case was to maintain

supracompetitive Nexium prices. Accordingly, the Court should not make any decisions on

relevance of pharmaceutical industry practices or high prices in the industry until the evidence is

presented at trial. Nor should the Court make any determinations about undue prejudice under

Rule 403 until it sees the evidence and Defendants actually make a showing as to how that

evidence creates a risk of unfair prejudice.

               DEFENDANTS’ MOTION 9: REFERENCES TO “BIG PHARMA” OR
               SIMILAR TERMS

        Plaintiffs are challenging the specific acts of the named Defendants in this case, and are

not attacking or challenging the pharmaceutical industry as a whole in some abstract way.

        Defendants have asked the Court to exclude terms such as “Big Pharma,” “big drug

company,” or any “similar pejorative description,” and further request that Defendants’ counsel

not be referred to as a “drug company’s counsel.”53 Defendants provide no legal basis for their

        51
             Id.
        52
            See United States v. Joseph, 530 Fed. Appx. 911, 922 (11th Cir. 2013); PBM Prods, LLC v. Mead
Johnson & Co., 639 F.3d 111, 124-25 (4th Cir. 2011); K-B Trucking Co. v. Riss Int’l Corp., 763 F.2d 1148, 1155-56
(10th Cir. 1985); Morales v. Vives, No. Civ. 02-1107, 2006 WL 852068, at *2 (D.P.R. Mar. 28, 2006).
        53
             Defs’ Mem. at 10.

                                                       13
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position that true descriptive terms be excluded from use at trial and cannot establish any

genuine prejudice, much less “undue prejudice” as required under Fed. R. Evid. 403.

Accordingly, the request should be denied.

         Defendants claim that the terms sought to be excluded “would confuse and distract the

jury” and “serv[e] no purpose here other than to elicit juror bias against pharmaceutical

companies.”54 The cases that Defendants cite are inapposite. For instance, in United States v.

Felton, the First Circuit upheld the district court’s decision to allow the use of the term

“terrorist” in describing the defendants and their actions in connection with charges of bank

robbery, counterfeiting, and the planned construction of explosives.55 The court noted that the

term “‘terrorist’ is obviously a provocative term,” but that the term “was certainly an accurate lay

use of the term. . . . That the term is highly pejorative is true-but this is a function of the acts that

the defendants engaged in, not the government’s inaccurate description of those acts.”56

         Similarly, Defendants make no showing that the terms sought to be excluded do anything

more than accurately describe the Defendants. While Plaintiffs do not plan to make it the focus

of their presentation to the jury, it is true that the Defendants are large pharmaceutical companies

and that their lawyers are lawyers for drug companies. Thus, the terms that Defendants seek to

exclude are not pejorative, but simply accurate, innocuous terms.57 The term “Big Pharma,” in




         54
              Defs’ Mem. at 10-11.
         55
              417 F.3d 97, 103-04 (1st Cir. 2005),
         56
            Id. at 103. Additionally, in United States v. Burgess, the Tenth Circuit concluded that, despite arguments
of unfair prejudice and cumulative evidence under Rules 404(b) and 403, the trial court properly admitted several
pornographic and sexually suggestive photographs saved on the Defendants’ hard drive. 576 F.3d 1078, 1097-98
(10th Cir. 2009). As that court made clear (in the very same sentence partially quoted by Defendants), “[t]o be
inadmissible under [R]ule 403, evidence must do more than damage the Defendant’s position at trial.” Id. at 1099.
         57
            See United States v. Guzman, 571 Fed. Appx. 356, 360-61 (6th Cir. 2014) (affirming denial of motion in
limine seeking to exclude use of the term “pill mill” to describe defendant’s business after finding that defendant
failed to explain how the “oft-used term” was pejorative).

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particular, is common shorthand for the Defendants’ industry.58 AstraZeneca itself uses this term

on its own website where it describes itself as “one of the only big pharma still devoting

resources to discovering and developing new medicines to cure [lethal superbugs].”59

         Accordingly, Defendants’ request to preclude Plaintiffs from using actual descriptive

terms should be denied.

                DEFENDANTS’ MOTION 10: PRIOR UNRELATED LITIGATION AND
                REGULATORY PROCEEDINGS

         During the October 15, 2014 pre-trial hearing, the Court stated that prior unrelated

litigation and regulatory proceedings would be excluded from evidence if the Court determined

that the evidence in question was, in fact, unrelated.60 Plaintiffs agree with the Court that these

issues should not be decided in advance of when these issues arise, if at all, at trial.

         Plaintiffs note, for example, that they may need to introduce evidence about the FTC’s

investigation if they present testimony given by Defendants’ employees during FTC hearings at

trial. Plaintiffs believe, however, that the jury should be instructed not to consider the FTC’s

inaction as a sign that the FTC “approved” in any way the challenged agreements.




         58
            Cf. In re SFBC Int’l, Inc. Sec. & Derivatives Litig., 495 F. Supp. 2d 477, 481 (D.N.J. 2007) (noting
article published by Bloomberg News entitled “Big Pharma’s Shameful Secret”).
         59
           See AstraZeneca featured on CBS Evening News, Nov. 17, 2010, http://www.astrazeneca.com
/Research/news/Article/AstraZeneca-featured-on-CBS-Evening-News.
          Defendants’ other cases relating to bias against particular industries or corporations are equally off-point.
See City of Cleveland v. Peter Kiewit Sons’ Co., 624 F.2d 749, 756-57 (6th Cir. 1980) (noting that the corporate
name of the defendant was not “synonymous with a ‘corporate giant,’ as, for example, IBM or General Motors
would be,” which meant that the jury would not have been aware of defendant’s size but for the references
throughout trial by the opposing party); Whitehead v. Food Max of Miss., Inc., 163 F.3d 265, 276 (5th Cir. 1998)
(finding counsel’s improper comments went well beyond simply noting the corporate status and location of the
defendant and were made repeatedly after the court had provided a specific instruction to not make several
prejudicial comments); Honda Motor Co. Ltd. v. Oberg, 512 U.S. 415, 432 (1994) (discussing potential problems of
jury bias and the associated dangers when presented with a defendant’s net worth in the context of awarding
punitive damages).
         60
              Charge Conference Tr., 37.

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                DEFENDANTS’ MOTION 11: “CONFIDENTIAL” OR “HIGHLY
                CONFIDENTIAL” DESIGNATIONS AND OTHER IRRELEVANT
                LITIGATION STAMPS

         The Court has indicated that it intends to instruct the jury to disregard “confidential” and

“highly confidential” designations when it encounters them, and to explain that such

designations were only for production purposes during the course of the litigation between the

parties. Specifically, the Court stated that the jury would be told that “confidential” and “highly

confidential” designations were “just part of the…business of getting ready for trial.”61 Plaintiffs

agree.

                DEFENDANTS’ MOTION 12: IRRELEVANT DOCUMENTS INVOLVING
                DISCOVERY OR PRIVILEGE ISSUES

         The Court has stated that “making motions that I would exclude irrelevant matters is not

terribly helpful because I will exclude irrelevant matters.” 62

         However, the Court has previously expressed its serious concern with Defendants hiding

behind the attorney-client privilege and then trying to put into evidence exculpatory testimony or

documents on the same subject:

                Now, I cannot emphasize enough, I remain gravely troubled by this
                assertion of the attorney-client privilege. I have already said that where
                justified I’m vindicating the privilege, and that’s so, and I will, and I have,
                but no expert is going to take the stand here and say, ‘Here’s why the
                company did what it did. Here’s the business justification. It’s perfectly
                obvious this is what they did and this is why they did it, because I’m Mr.
                Economic guru.’ Nobody’s going to say that. And the reason is it won’t
                pass Cumo [sic] Tire vs. Carmichael. This is a factual situation where the
                people who actually did it, in the existential world, have evidence to give
                as to what they did, and I’m hearing from those people first.63




         61
              Charge Conference Tr., 37.
         62
              Charge Conference Tr., 37-38.
         63
              See September 30, 2014 Pretrial Conference Transcript, at 20 (emphasis added).

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Defendants’ motion should be denied, and this issue should be addressed at trial on a case-by-

case basis, as it arises. Defendants should not be permitted to use the privilege as both a sword

and a shield,64 and the Court should handle privilege issues as they arise in the context of specific

testimony.

                DEFENDANTS’ MOTION 13: MEDIA COVERAGE OF DEFENDANTS,
                ANY OTHER PHARMACEUTICAL COMPANY, OR THE
                PHARMACEUTICAL INDUSTRY

         This motion is facially overbroad and premature. Defendants ask the Court to “preclude

Plaintiffs from introducing any newspaper articles, television newscasts, or other media coverage

relating to Defendants, other pharmaceutical companies, or the pharmaceutical industry as a

whole.”65

         Absent a specific description of the evidence they seek to exclude, Defendants

improperly seek to hold the Court to a “tentative forecast” made in a vacuum, untethered from

the factual context that will unfold at trial.66




         64
             See generally Hoffmann-La Roche, Inc. v. Roxane Labs., Inc., No. 09-CV-6335, 2011 U.S. Dist. LEXIS
50404, at *37 (D.N.J. May 11, 2011) (“[f]undamental fairness requires that [plaintiff’s witness] not be permitted to
offer unchecked testimony on such allegedly privileged issues, while at the same time [plaintiff] fights to keep
written communications on the same issues private. To do so would prevent [defendant] from effectively responding
to assertions or implications about the substance of privileged communications, and would have the result of
presenting only [plaintiff’s] side of the story.”); In re Human Tissue Prods. Liab. Litig., 255 F.R.D. 151, 161 (D.N.J.
2008) (“Defendant cannot on the one hand implicitly rely on the fruits of this background investigation as evidence
that [it] exercised its diligence . . . while at the same time depriving Plaintiffs of access to this information on the
basis of privilege. To do so prevents Plaintiffs from effectively challenging [Defendant’s] good faith intentions . . .
and therefore undercuts the fairness considerations underlying the attorney-client privilege doctrine.”). See also
Plaintiffs’ Opposition to Defendants’ Motion in Limine to Preclude Argument or Evidence Based Upon Defendants’
Invocation of Attorney-Client Privilege (ECF No. 844) and Memorandum in Support of Plaintiffs’ Cross-Motion in
Limine to Preclude Defendants’ Selective Introduction of Evidence on Topics for Which They Purport to Invoke the
Attorney-Client Privilege or Work Product Protection, ECF No. 918, at 12-17.
         65
              See Defs’ Mem. at 14.
         66
              See generally United States v. Griffin, 818 F.2d 97, 104 (1st Cir. 1987) (noting that “[t]he Rule 403
calculus . . . is subject to change when the case unfolds” and “it is too great a handicap to bind a trial judge to a
ruling . . . outside a precise factual context”).

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              DEFENDANTS’ MOTION 14: TRIAL PUBLICITY

       During the October 15, 2014 pre-trial hearing, the Court stated that, “I’m not interested in

trial publicity. I don’t think I need to make rulings on any of that. Competent counsel would stay

away from all of that…with the excisions that I have mentioned.”67 Plaintiffs agree.


Dated: October 23, 2014

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       67
            Charge Conference Tr., 38.

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                                  CERTIFICATE OF SERVICE

       I, Thomas M. Sobol, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.

Dated: October 20, 2014
                                                               /s/ Thomas M. Sobol
                                                               Thomas M. Sobol




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